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                                                  ERIC C. GRIMM, PLLC
                                                   Bespoke. Legal. Services.
                                              Muskegon, MI 49443-0041
                                                   734.332.4900

                                                     February 17, 2017
                                                                                                            Eric C. Grimm
                                                                                                            Admitted to Practice:
                                                                                                            Texas                 1993*
                                                                                                            District of Columbia 1995
                                                                                                            Michigan              1998
Hon. Rillastine R. Wilkins, District 1
Hon. Benjamin E. Cross, District 2
Hon. Susie Hughes, District 3
Hon. Robert Scolnik, District 4
Hon. Marvin R. Engle, District 5
Hon. Charles Nash, District 6
Hon. Gary Foster, District 7
Hon. I. John Snider, II, District 8
Hon. Kenneth Mahoney, District 9
Board of Commissioners, County of Muskegon
990 Terrace Street; Fourth Floor
Muskegon, MI 49440
commissioners@co.muskegon.mi.us

       Re:        FOIA Appeal.

Dear Commissioners:

       This letter is an optional, non-mandatory, courtesy appeal under Michigan’s Freedom
of Information Act, Act 442 of 1976, as amended, MCL 15.231 - 15.246.

      The topic involves “investiture” ceremonies for elected officials. “Investiture” is a
fancy word for swearing-in. It is when a public official takes his or her oath of office.

      It is bizarre and baffling to me that I should have to bring this matter to your attention.
The County of Muskegon hosted the events in question, in the Muskegon County Building,
along with the Muskegon County Bar. All were open to the public; video was taken.

       When government entities hold a public investiture (of a judge or anyone else), and
a videographer is invited to record the event, normally the video is made available to the
public as a matter of course. Typically, nobody (like me) even has to ask. Here are some


       *
        Membership in State Bar of Texas inactive, but in good standing. Must re-activate license to accept client matters in Texas.
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examples. First is the public swearing-in of U.S. Supreme Court Justice Elana Kagan:
https://www.c-span.org/video/?294960-1/kagan-supreme-court-swearingin-ceremony That
event, which can be viewed via Internet video (including on Youtube –
https://www.youtube.com/watch?v=2tA_Glsa0qI ) was a very short and businesslike event.
Typically, U.S. Supreme Court Justices will also hold private, or non-recorded, events2 with
close friends and family, that are not open to the public, but I’m not writing about events that
are solely private events for close friends and family, or events not recorded.

        Here is another example, which is for Supreme Court Justice Sonya Sotomayor:
https://www.c-span.org/video/?288295-1/sotomayor-supreme-court-swearingin-ceremony

       It is important to distinguish between proceedings of the Supreme Court, and these
recorded events. Video such as this is made public as a matter of routine.

        In contrast, proceedings of the Supreme Court (such as oral arguments) are associated
with specific case numbers. And video never is permitted of actual proceedings (under
any circumstances) in the Supreme Court.3 Audio is routinely taken in this particular court
(as it was, too, when I served as a Briefing Attorney on the Texas Supreme Court), and the
audio of specific proceedings can sometimes be made available quickly to the public – or,
sometimes, after months or years have passed.

         The distinction between public investitures (video routinely released to the public) and
actual proceedings of the judiciary (video never taken, in some courts, even for internal
purposes, or taken subject to specific rules in others), is an important distinction and one you
need to understand. Were this about video of a hearing in a contested case, subject to the
Court Rules, of course I would proceed (as I have otherwise done) differently. But the point
is, this is a different (ceremonial, public, county) kind of thing, altogether.

       The important difference is easily demonstrated. I respectfully invite each and every

       2
         Some local officials, too, such as Chief Judge William Marietti, of the Muskegon
County Circuit Court, in late 2016 or early 2017, will choose to take their oaths of office
privately, and without much ceremony – with only a few close friends, relatives, and/or
staff on hand. I am not requesting video of Judge Marietti’s private event. Nor do I
criticize his choice to hold it privately.
       3
        In contrast, in Michigan state courts, the Court Rules do allow for video recording
of proceedings (assigned case numbers) – but the events in question were not proceedings
subject to the strictures of the Court Rules, and no adjudicative business was conducted.
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one of you to Google for “youtube judicial investiture,” which will turn up approximately
132,000 results, not all on Youtube. Searching for the terms “investiture judicial” on
Youtube turns up over 1000 results – including a multitude of videos taken in Michigan
(such as Royal Oak and Cass County, even excerpts of one in this county) – instance after
instance in which a public investiture ceremony for a judge has been held in a public building
(sometimes a public school, sometimes another government building) and video has been
captured. The routine, normal, ordinary practice is to release the video (typically, via
Youtube) – without anyone even having to ask. Hence, my written submission to County
Administration (seeking copies of all video and audio of all public investitures held in the
Muskegon County Building, and most importantly, one particular event held in late 2014),
should not be considered unusual or objectionable in the least.

       This is exactly what the public has every right to expect – without even having to ask
– everyplace in the United States, including anyplace in Michigan. Including this county.

       What could Muskegon County possibly be so ashamed about, that it is trying to hide
the exact same kind of recording that everyone else routinely makes public?

      To be quite honest with you, some of what happened during the 2014 investiture
ceremony was shameful. And those who have failed to apologize for the excesses and to
walk back what happened, have good reason to be ashamed. And to apologize.

       But that is all the more reason for transparency and government accountability to be
required – and all the more reason for the shameful bits in particular to be made public.

      Accordingly, attached is the FOIA request that I submitted, shortly after the 2016
general election. Also attached is the response from attorney Susan Franklin.

        To be quite honest, the Williams | Hughes law firm should not be advising this county
about this particular FOIA request. Whether or not, as a result of this appeal, I get this video
from the County, still I will get it within less than one year under Rules 26 and 45 of the
FEDERAL RULES OF CIVIL PROCEDURE, after filing a 42 U.S.C. § 1983 civil action against the
County of Muskegon, against this captive law firm, and against one or more elected officials
(to be determined, still, who shall be sued). The Williams | Hughes law firm currently is the
subject of a religious discrimination investigation involving the Michigan Department of
Civil Rights. MDCR already has advised me that I do not need to wait for them to finish
their investigation in order to sue in federal court. Needless to say, this specific law firm is
not necessarily the best choice for objective advice, under the circumstances.
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        I would respectfully urge the County Board to secure better, and more reliable, legal
advice, from an out-of-county law firm. Please also be sure to ask Mr. Hughes how much
his client the White Lake Ambulance Authority had to pay in actual attorney fees, when Mr.
Hughes undertook the defense of WLAA in a FOIA and OMA case.

       I would much rather resolve this case reasonably with the Board, with the release of
the video in question (so the public can make up its own mind), rather than seeking to collect
a bunch of attorney fees. If you view your jobs as acting in the public interest, then you
promote the public interest in two ways by releasing the video immediately – first, you save
taxpayer dollars by avoiding the cost of litigation, and second, you promote the public
interest through government transparency and accountability.

       Note that Ms. Franklin does not rely on even one exemption under MCL 15.243.
Thus, any argument based on any FOIA exemption already has been waived.

      Instead, the sole argument that is made, is the claim that the video (even though in
possession of the government, and made during a public ceremonial event – not any judicial
proceeding) somehow is not a “public record.” The exact same thing, everyplace else in the
country, obviously, is a public record and is routinely broadcast on Youtube. But in
Muskegon County, alone, it is not a public record. It is a state secret. Unpersuasive.

       Ms. Franklin’s argument rests on several faulty premises.

        Her first apparent premise is that records of “the judiciary” are secret – nonpublic.
That is not true. First, quite the contrary, only certain records (such as files of cases assigned
case numbers, and held by the Clerk of Court) are actually records of “the judiciary.” And,
even more importantly, of the records that actually are of “the judiciary,” the overwhelming
majority of them are more public and more accessible, more quickly, than FOIA public
records, in Michigan.

        The reason that FOIA does not apply to specific records, defined in a Local
Administrative Order, and in specific sections of Chapter 8 of the MICHIGAN COURT RULES,
is not because those records are secret. It is precisely because almost all actual records of
“the judiciary” are more public – not less public – than FOIA public records. For
instance, unless an order is entered, after a motion, and a showing of “good cause” to seal
specific records, when the public wants to inspect the file for a court case, the public does
not have to wait 5 or 15 days, as the public would under FOIA. The public gets to inspect
and copy the records of “the judiciary” immediately – on the spot.
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       That’s hardly a persuasive argument for keeping the video of a ceremonial,
governmental, public event, shrouded in secrecy. Indeed, there is no valid reason to keep this
recording of a public event shrouded in secrecy, other than the shame now felt (in retrospect)
by certain elected officials.

       Now it is true that video of judicial proceedings, are subject to special rules about how
video is handled. But, again, proceedings relate to one or more numbered court cases. This
appeal is not about any such thing. The Court Rules and the LAO are irrelevant.

       And video cannot be taken, in a proceeding, by an outside videographer, without a
motion being filed and granted, to allow it. In relation to the investiture, no motion was
needed (nor filed, nor could one be filed because there was no case number). The video of
an investiture simply has nothing to do with any records of “the judiciary” precisely because
the rules applicable to proceedings of the judiciary, have nothing whatsoever to do with
investitures (which are ceremonial, not judicial or adjudicative, events).

       There is also a well-established body of case law, in Michigan, that interprets the
scope of “public records,” and of disclosure requirements, broadly, and consistent with the
public interest. In contrast, FOIA interpretive precedent requires that obstacles to disclosure
be interpreted narrowly, and in a way also favoring the public interest in open government
and transparency. Both of these well-established interpretive principles, support the prompt
disclosure of the requested public records.

      Inasmuch as the event was open to the general public, the notion that the video of it
should somehow be treated as a secret, and kept from the public, is pretty silly.

        And no court is going to be persuaded by Ms. Franklin’s argument, if I have to take
this to court. So, please, let’s just come clean (especially now that the 2016 election is over)
and make sure that the public get to see – via the Internet – exactly what they have every
right to see. Thank you for your attention to this matter.

                                                           Very truly yours,

                                                           /s/ Eric C. Grimm
                                                           Eric C. Grimm
cc:    Susan Franklin, Esq.
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